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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 DEFENDANTS NSO GROUP
                                                  TECHNOLOGIES LIMITED AND Q
14               Plaintiffs,                      CYBER TECHNOLOGIES LIMITED’S
                                                  MOTION TO SUBSTITUTE EXPERT
15         v.
                                                  [Filed concurrently with Administrative
16   NSO GROUP TECHNOLOGIES LIMITED               Motion, Declaration of Joseph N.
     and Q CYBER TECHNOLOGIES LIMITED,            Akrotirianakis and Proposed Order]
17
                     Defendants.                  Date: January 16, 2025
18                                                Time: 1:30 p.m.
                                                  Place: Courtroom 3, Ronald V. Dellums
19                                                       Federal Building & U.S. Courthouse,
                                                         1301 Clay Street, Oakland, California
20

21                                                Action Filed: 10/29/2019
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 1           PLEASE TAKE NOTICE that on January 16, 2025, at 1:30 p.m., or such other date

 2   determined by the Court, 1 Defendants NSO Group Technologies Ltd. and Q Cyber Technologies

 3   Ltd. (collectively “NSO”) will bring on for hearing before the Honorable Phyllis J. Hamilton,

 4   United States District Judge, in the United States Courthouse, 1301 Clay Street, Courtroom 3,

 5   Oakland, California, a motion to substitute NSO’s expert John Town with Joshua Minkler and to

 6   modify the case schedule as necessary to permit Plaintiffs to take Mr. Minkler’s deposition and file

 7   any motions they wish to file concerning Mr. Minkler’s testimony. The motion is based on the

 8   following Points and Authorities; the Declaration of Joseph N. Akrotirianakis (“Akro. Decl.”) and

 9   the exhibits thereto; the pleadings, papers, and records on file in this case; and such oral argument

10   as may be presented. Defendants believe the issues raised in this motion are straightforward and

11   may be resolved without oral argument.

12                                    POINTS AND AUTHORITIES

13           The Court should grant NSO’s motion and allow NSO to substitute its previously timely-

14   disclosed expert, Mr. Town, with Mr. Minkler. Through no fault of NSO, Mr. Town has recently

15   withdrawn as NSO’s expert. As soon as NSO learned of Mr. Town’s withdrawal, it began searching

16   for a new expert to offer opinions consistent with Mr. Town’s. NSO engaged Mr. Minkler, the first

17   unconflicted expert it contacted, and immediately notified Plaintiffs on November 27, who

18   nonetheless opposed substitution for reasons having nothing to do with the factors relevant to expert

19   substitution. Courts in this Circuit routinely allow expert substitutions in similar circumstances,

20   when a expert becomes unavailable through no fault of a party and the party acts diligently to find

21   a substitute expert. E.g., Jones v. Nat’l R.R. Passenger Corp., 2022 WL 689000, at *2 (N.D. Cal.

22   Feb. 23, 2022); Fujifilm Corp. v. Motorola Mobility LLC, 2014 WL 8094582, at *2 (N.D. Cal. Nov.

23   19, 2024). Mr. Minkler’s opinions will be substantially similar to Mr. Town’s disclosed opinions,

24   so Plaintiffs will suffer no prejudice from substitution. For these reasons, the Court should grant

25   NSO’s motion and permit it to substitute Mr. Minkler for Mr. Town.

26           Background. Consistent with the schedule ordered by this Court, NSO timely disclosed

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       Along with this motion, Defendants are filing an administrative motion to shorten the briefing
28   schedule for this motion. If the Court grants the administrative motion, it should accordingly
     advance the hearing date for this motion or vacate the hearing and resolve this motion on the papers.

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 1   the expert opinions of John “Jay” Town, the former U.S. Attorney for the Northern District of

 2   Alabama, on August 30, 2024. (Akro. Decl. Exh. A.) On November 7, 2024, and without prior

 3   notice to NSO, Mr. Town informed NSO that he would not be able to continue serving as an expert

 4   in this case. In conversations with NSO’s counsel between November 8 and November 10, Mr.

 5   Town—who has spent most of his legal career in public service—explained that he expects to return

 6   to public service in the incoming Presidential administration. For that reason, Mr. Town stated that

 7   he was unable to continue to serve as an expert for NSO in this matter. (Akro. Decl. ¶ 3.)

 8          NSO promptly began searching for a new expert to serve in Mr. Town’s place. (Akro. Decl.

 9   ¶ 4.) On November 8—the day after Mr. Town first informed NSO of his intent to withdraw—

10   NSO’s counsel began contacting potential experts. (Id.) Between November 8 and November 24,

11   counsel contacted seven candidates who informed counsel that they were unable to serve as experts

12   because of conflicts with their firms’ past or present representations of Plaintiff Meta Inc. in

13   unrelated matters or, like Mr. Town, conflicts with anticipated political appointments. (Id.)

14          Mr. Minkler was the first expert contacted by Defendants who agreed to serve as NSO’s

15   expert. (Id.) Mr. Minkler previously served as U.S. Attorney for the Southern District of Indiana,

16   and is presently a lawyer in Indianapolis. (Akro. Decl. Exh. B.) NSO finalized Mr. Minkler’s

17   engagement on November 26. (Akro. Decl. ¶ 6.) The next day, NSO informed Plaintiffs of its

18   need to substitute Mr. Minkler for Mr. Town and requested Plaintiffs’ consent to that substitution.

19   (Akro. Decl. Exh. C.) Mr. Minkler expects to complete his Rule 26 disclosure on or before

20   December 13, 2024, and Defendants expect to serve the disclosure on that date. (Akro. Decl. ¶ 6.)

21          On December 6, without identifying any undue delay by NSO or prejudice to Plaintiffs,

22   Plaintiffs stated an intent to oppose the substitution. (Akro. Decl. Exh. D.) Plaintiffs contended

23   that Mr. Minkler’s opinions are irrelevant and cumulative—arguments that Plaintiffs could

24   potentially raise in a potential motion to exclude Mr. Minkler but that are not relevant to whether

25   substitution is appropriate. (Id. Exh. D and ¶ 9.) Plaintiffs’ position necessitated this motion.

26          Argument. The Court should grant substitution under Rule 16, which provides that a

27   pretrial schedule “may be modified only for good cause and with the judge’s consent.” Fed. R. Civ.

28   P. 16(b)(4)); see Jones, 2022 WL 689000, at *2. Good cause exists here because NSO acted

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 1   diligently to replace Mr. Town and because the substitution will not prejudice Plaintiffs. See id.

 2          First, NSO “brought the instant motion with reasonable diligence.” Id. at *3. NSO’s

 3   “counsel began searching for a new expert witness . . . immediately upon learning that” Mr. Town

 4   intended to withdraw, id.—indeed, counsel began contacting potential new experts the very next

 5   day after Mr. Town first informed NSO on November 7, 2024. (Akro. Decl. ¶¶ 3-4.) NSO engaged

 6   the first expert who did not have a conflict and immediately informed Plaintiffs. (Id. ¶ 7.) This

 7   reflects at least as much diligence as courts have found to be reasonable in other cases. E.g., Jones,

 8   2022 WL 689000, at *3-4; Estate of Clifford v. Placer Cty., 2018 WL 746475, at *2 (E.D. Cal. Feb.

 9   6, 2018); In re Northrop Grumman Corp. ERISA Litig., 2016 WL 6826171, at *3 (C.D. Cal. Apr.

10   7, 2016); Kaepplinger v. Michelotti, 2021 WL 2633312, at *5-6 (N.D. Ill. June 25, 2021).

11   Moreover, “[c]ourts also routinely permit substitution where the original expert report was timely,”

12   as Mr. Town’s was here. Jones, 2022 WL 689000, at *3; see also Neaman v. United States, 2018

13   WL 797419, at *2-3 (D. Nev. Feb. 7, 2018) (granting substitution when expert “no longer willing

14   to serve as plaintiffs’ expert” because “she had taken a job with the Veteran’s Administration”).

15          Second, Plaintiffs will not suffer any prejudice from the requested substitution. As courts

16   generally require in these circumstances, Mr. Minkler’s “report and testimony” will be

17   “substantially similar” to Mr. Town’s and “limited to the subject matter and theories already

18   espoused by” Mr. Town. Jones, 2022 WL 689000, at *3. Plaintiffs have not taken Mr. Town’s

19   deposition. Plaintiffs thus will not have to perform any meaningful new work to respond to Mr.

20   Minkler’s opinions that they have not already performed in connection with Mr. Town’s opinions.

21   In addition, NSO has offered both to extend the expert deposition period so that Plaintiffs can

22   adequately depose Mr. Minkler and to extend the deadline for Plaintiffs to move to exclude Mr.

23   Minkler, while also shortening NSO’s own deadline to oppose any motion to exclude in order to

24   avoid any negative impact on the case schedule. (Akro. Decl. ¶ 11.) Courts consistently grant

25   substitution in similar circumstances. E.g., Jones, 2022 WL 689000, at *3-4; Kaepplinger, 2021

26   WL 2633312, at *6-7.

27          Third, Plaintiffs’ stated objections to this motion are irrelevant to whether substitution is

28   appropriate. Without seeing Mr. Minkler’s opinions, Plaintiffs contend that they are irrelevant and

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 1   cumulative of the opinions offered by a separate expert timely disclosed by NSO, Col. Ty Shepard

 2   (ret.). Those arguments are wrong, but even if they were correct, they would be relevant only to a

 3   potential motion in limine to limit or exclude Mr. Minkler’s opinions at trial. Substituting Mr.

 4   Town with Mr. Minkler will not prevent Plaintiffs from filing such a motion, and indeed NSO has

 5   offered procedural concessions to enable such a motion. But the arguments Plaintiffs would raise

 6   in such a motion have no bearing on whether “good cause” exists for substitution under Rule 16.

 7   Jones, 2022 WL 689000, at *2. As the court in Jones recognized, a party’s “objections regarding

 8   the scope of [a] substitute expert’s testimony” may be raised “in an in limine motion closer to trial,”

 9   not in an opposition to substitution. Id. at *4; see also Northrop Grumman, 2016 WL 6826171, at

10   *3 (finding “objections” to substitute expert’s opinions were “more properly the subject of a motion

11   in limine, which would allow the Court to evaluate the scope of [his] proposed testimony with

12   complete briefing from the parties and with the benefit of [his] deposition testimony”).

13          Proposed Modification of the Case Schedule:              Defendants propose the following

14   modifications be made to the Case Schedule:

15          Discovery Cutoff: The discovery cutoff should be extended from December 16, 2024, to

16   January 8, 2025, for purpose of the taking Mr. Minkler’s deposition, and the deadline for any related

17   expert discovery motions should be extended from December 23, 2024, to January 15, 2025.

18          Motions in Limine/Daubert Motions: As to Mr. Minkler, the deadline for filing motions

19   in limine or Daubert motions be extended from January 9, 2025, to January 15, 2025, with

20   Defendants’ deadline to oppose such motions remaining January 23, 2025.

21                                             CONCLUSION

22          The Court should grant NSO’s motion and allow NSO to substitute its expert John Town

23   with Joshua Minkler. The Court should also grant a limited extensions of the case schedule for the

24   purpose of allowing Plaintiffs to depose Mr. Minkler and file motions related thereto.

25   Dated: December 11, 2024                            KING & SPALDING LLP

26                                                       By: Joseph N. Akrotirianakis
                                                         JOSEPH N. AKROTIRIANAKIS
27                                                       AARON S. CRAIG
28                                                       Attorneys for Defendants

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